                                                                          Case 3:22-cv-01056-AJB-AGS Document 123 Filed 11/04/22 PageID.2303 Page 1 of 6




                                                                             1 JOSEPH R. LAMAGNA (State Bar No. 246850)
                                                                               JORDAN KEARNEY (State Bar No. 305483)
                                                                             2 HOOPER, LUNDY & BOOKMAN, P.C.
                                                                               101 W. Broadway, Suite 1200
                                                                             3 San Diego, California 92101
                                                                               Telephone: (619) 744-7300
                                                                             4 Facsimile: (619) 230-0987
                                                                               E-Mail: jlamagna@health-law.com
                                                                             5         jkearney@health-law.com

                                                                             6 DEVIN   M. SENELICK (State Bar No. 221478)
                                                                               TARYN A. REID (State Bar No. 328772)
                                                                               HOOPER, LUNDY & BOOKMAN, P.C.
                                                                             7 1875 Century Park East, Suite 1600
                                                                               Los Angeles, California 90067
                                                                             8 Telephone: (310) 551-8111
                                                                               Facsimile: (310) 551-8181
                                                                             9 E-Mail: dsenelick@health-law.com
                                                                                       treid@health-law.com
                                                                            10
                                                                               Attorneys for Plaintiff Borrego Community
                                                                            11 Health Foundation
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                            12
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                            13                       UNITED STATES DISTRICT COURT
                                                                            14                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                            15
                                                                            16 BORREGO COMMUNITY HEALTH                   Case No. 3:22-cv-01056-AJB-AGS
                                                                               FOUNDATION, a California nonprofit
                                                                            17 public benefit corporation,                Hon. Anthony J. Battaglia
                                                                            18              Plaintiff,
                                                                                                                          NOTICE OF MOTION & MOTION
                                                                            19        vs.                                 FOR LEAVE TO AMEND
                                                                                 KAREN HEBETS, et al.                     COMPLAINT; MEMORANDUM
                                                                            20                                            OF POINTS AND AUTHORITIES
                                                                                            Defendants.                   IN SUPPORT THEREOF
                                                                            21
                                                                            22                                            FRCP 15(a)(2)

                                                                            23                                            [Filed concurrently with the
                                                                                                                          Declaration of Devin M. Senelick, Esq.]
                                                                            24
                                                                                                                          Judge:   Hon. Anthony J. Battaglia
                                                                            25                                            Date:    February 23, 2023
                                                                            26                                            Time:    2:00 P.M.
                                                                                                                          Ctrm.:   4A
                                                                            27
                                                                                                                          Trial Date:         None Set
                                                                            28
                                                                                                                                         Case No. 3:22-cv-01056-AJB-AGS
7270268.8                                                                                    NOTICE OF MOTION & MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                          Case 3:22-cv-01056-AJB-AGS Document 123 Filed 11/04/22 PageID.2304 Page 2 of 6




                                                                             1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                             2         PLEASE TAKE NOTICE that on February 23, 2023 at 2:00 p.m., or as soon
                                                                             3 thereafter as counsel may be heard, in the Courtroom of the Honorable Anthony J.
                                                                             4 Battaglia, located at 221 West Broadway, San Diego, California 92101, Plaintiff
                                                                             5 Borrego Community Health Foundation (“Borrego Health”), will and herby does
                                                                             6 move the Court for an order granting leave to file a First Amended Complaint
                                                                             7 (“FAC”) pursuant to Federal Rule of Civil Procedure Rule 15(a) and United States
                                                                             8 District Court Southern District Local Rules 7.1 and 15.1.
                                                                             9         This motion will be made on the grounds that it is in the interests of justice
                                                                            10 and of judicial efficiency to allow the proposed FAC, and that such amendment will
                                                                            11 not result in prejudice to the Defendants.
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                            12         This motion is based on this Notice of Motion, the accompanying
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                            13 Memorandum of Points and Authorities, the Declaration of Devin M. Senelick, Esq.
                                                                            14 and all other pleadings on file in this matter.
                                                                            15
                                                                            16 DATED: November 4, 2022                HOOPER, LUNDY & BOOKMAN, P.C.
                                                                            17
                                                                            18
                                                                                                                      By:
                                                                            19
                                                                                                                                     TARYN A. REID
                                                                            20                                        Attorneys for Plaintiff Borrego Community
                                                                            21                                        Health Foundation

                                                                            22
                                                                            23
                                                                            24
                                                                            25
                                                                            26
                                                                            27
                                                                            28

                                                                                                                          2                Case No. 3:22-cv-01056-AJB-AGS
7270268.8                                                                                     NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                          Case 3:22-cv-01056-AJB-AGS Document 123 Filed 11/04/22 PageID.2305 Page 3 of 6




                                                                             1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                                                             2 I.     INTRODUCTION & STATEMENT OF FACTS
                                                                             3        On July 19, 2022, Borrego Health filed its complaint in this action. The
                                                                             4 Complaint alleges, among other things, that while Borrego Health was attempting to
                                                                             5 complete its mission of providing healthcare to underserved communities, certain
                                                                             6 individuals and entities, both inside and outside of Borrego Health, siphoned off
                                                                             7 money from Borrego Health that should have benefitted the community it serves.
                                                                             8 The schemes include selling useless assets to Borrego Health at inflated prices,
                                                                             9 entering into one-sided agreements with Borrego Health to its detriment, committing
                                                                            10 and/or covering up healthcare fraud though improper billing of dental services,
                                                                            11 entering into leases with Borrego Health that were many times fair market rates and
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                            12 terms, paying themselves above-market salaries and benefits, hiring friends and
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                            13 family members to work for Borrego Health and paying them above-market salaries,
                                                                            14 and attempting to use Borrego Health to purchase a country club.
                                                                            15        On October 6, 2022, the Court in this action issued an “Order Striking Certain
                                                                            16 Answers And Motions To Dismiss And Streamlining Deadlines And Briefing
                                                                            17 Schedules” (ECF 100). This order, in part, ordered all Defendants to respond to
                                                                            18 Borrego Health’s Complaint on or before October 21, 2022. The Order also
                                                                            19 instructed Borrego Health to file a consolidated opposition in response to all timely
                                                                            20 filed motions to dismiss on or before November 11, 2022.
                                                                            21        After serving the Defendants in this action, Borrego Health continued to
                                                                            22 investigate its claims further, and recently discovered evidence which demonstrates,
                                                                            23 from Borrego Health’s perspective, a clear “kickback” between some of the
                                                                            24 Defendants.
                                                                            25        As such, on October 24, 2022, counsel for Borrego Health e-mailed
                                                                            26 Defendants’ counsel requesting a Joint Stipulation be entered into allowing Borrego
                                                                            27 Health to file a First Amended Complaint. (Decl. of Devin M. Senelick, Esq. ¶ 5,
                                                                            28 Ex. A). While some Defendants were in agreement, others indicated that they

                                                                                                                         3                Case No. 3:22-cv-01056-AJB-AGS
7270268.8                                                                                    NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                          Case 3:22-cv-01056-AJB-AGS Document 123 Filed 11/04/22 PageID.2306 Page 4 of 6




                                                                             1 needed to evaluate the proposed changes first or did not respond at all. (Decl. of
                                                                             2 Devin M. Senelick ¶ 6).
                                                                             3        As a result, Borrego Health now files the herein motion seeking to amend its
                                                                             4 Complaint to add a new Defendant and allegations to the action, as well as add
                                                                             5 additional information to address the concerns raised in several of the Defendants’
                                                                             6 motions to dismiss.
                                                                             7 II.    LEGAL STANDARD
                                                                             8        The Federal Rules of Civil Procedure provide that “[t]he court should freely
                                                                             9 give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). Indeed,
                                                                            10 there is a “presumption under Rule 15(a) in favor of granting leave to amend.” See
                                                                            11 Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). This
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                            12 policy favoring amendment is to be applied with “extreme liberality.” Sonoma Cty.
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                            13 Ass'n of Retired Emps. v. Sonoma Cty., 708 F.3d 1109, 1117 (9th Cir. 2013).
                                                                            14 Because federal policy favors “a proper decision on the merits” and “just . . .
                                                                            15 determination of every action,” leave to amend the pleadings is freely given. Foman
                                                                            16 v. Davis, 371 U.S. 178, 182 (1962).
                                                                            17        The burden is on the opposing party to establish it will be prejudiced by the
                                                                            18 amendment. DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 185 (9th Cir. 1987).
                                                                            19 “A motion for leave to amend should be granted unless there has been a showing
                                                                            20 that to permit the amendment would produce an undue delay in the litigation, that
                                                                            21 the motion was brought in bad faith or out of dilatory motive, that the movant has
                                                                            22 repeatedly failed to cure deficiencies in the complaint by previous amendments, that
                                                                            23 the proposed amendment would unduly prejudice an opposing party, or that the
                                                                            24 proposed amendment would result in futility for lack of merit.” Oregon Natural
                                                                            25 Desert Ass’n v. McDaniel, 751 F. Supp. 2d 1151, 1155 (D. Or. 2011); see Foman,
                                                                            26 371 U.S. at 371.
                                                                            27
                                                                            28

                                                                                                                         4                Case No. 3:22-cv-01056-AJB-AGS
7270268.8                                                                                    NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                          Case 3:22-cv-01056-AJB-AGS Document 123 Filed 11/04/22 PageID.2307 Page 5 of 6




                                                                             1 III.    PLAINTIFF’S MOTION FOR LEAVE TO AMEND SHOULD BE
                                                                             2         GRANTED
                                                                             3         In compliance with Local Rules 7.1 and 15.1, attached hereto is a copy of the
                                                                             4 proposed First Amended Complaint (Exhibit “1”) and a redlined version of the First
                                                                             5 Amended Complaint highlighting the changes between the Complaint and the
                                                                             6 proposed First Amended Complaint (Exhibit “2”).1 The amendments include adding
                                                                             7 Defendant KBH Healthcare Consulting, LLC (“KBH”) to the First Amended
                                                                             8 Complaint, along with allegations relating to a “kickback” paid by one defendant to
                                                                             9 another. Specifically as it pertains to KBH, the proposed FAC alleges that KBH was
                                                                            10 used by the named defendants to receive remuneration from the schemes alleged in
                                                                            11 the complaint.
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                            12         In addition to adding KBH, the FAC seeks to address the concerns raised in
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                            13 several of the Defendants’ motions to dismiss. As such, Borrego Health has added
                                                                            14 over 100 paragraphs to the proposed FAC providing additional allegations relating
                                                                            15 to the Defendants’ conduct and adding further detail.
                                                                            16         Borrego Health’s proposed amendment would cause no prejudice to
                                                                            17 Defendants, particularly in light of the fact that the proposed FAC offers further
                                                                            18 detail and particularity, precisely what the Defendants take issue with in the original
                                                                            19 complaint.
                                                                            20         Further, there has been no bad faith or undue delay on the part of Borrego
                                                                            21 Health. Borrego Health discovered KBH’s involvement recently and notified the
                                                                            22
                                                                            23
                                                                            24   1
                                                                                   A full version of the proposed FAC, including all exhibits, is attached hereto as
                                                                            25   Exhibit 1. The Exhibit List attached to the FAC makes minor revisions to the prior
                                                                            26   Exhibit List, including the removal of two pages which were superfluous to the
                                                                                 filing of the complaint. To avoid attaching approximately 800 pages of exhibits
                                                                            27   twice, the full revised Exhibit List will only be attached to Exhibit 1 (and not to the
                                                                            28   Exhibit 2 redline).

                                                                                                                          5                Case No. 3:22-cv-01056-AJB-AGS
7270268.8                                                                                     NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                          Case 3:22-cv-01056-AJB-AGS Document 123 Filed 11/04/22 PageID.2308 Page 6 of 6




                                                                             1 Defendants once it became aware that KBH played a pivotal role in the alleged
                                                                             2 schemes.
                                                                             3        As there is a presumption in favor of granting leave to amend, and Defendants
                                                                             4 do not face any prejudice in allowing the amendment, Borrego Health’s motion for
                                                                             5 leave to amend should be granted.
                                                                             6 IV.    CONCLUSION
                                                                             7        For all the above-referenced reasons, Borrego Health respectfully requests
                                                                             8 that the Court grant its Motion for Leave to Amend its Complaint.
                                                                             9
                                                                            10 DATED: November 4, 2022             HOOPER, LUNDY & BOOKMAN, P.C.
                                                                            11
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                            12
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                                                                   By:
                                                                            13
                                                                                                                                  TARYN A. REID
                                                                            14                                     Attorneys for Plaintiff Borrego Community
                                                                            15                                     Health Foundation

                                                                            16
                                                                            17
                                                                            18
                                                                            19
                                                                            20
                                                                            21
                                                                            22
                                                                            23
                                                                            24
                                                                            25
                                                                            26
                                                                            27
                                                                            28

                                                                                                                        6                Case No. 3:22-cv-01056-AJB-AGS
7270268.8                                                                                   NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
